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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            CR. NO. C-13-237(1)
                                                 §
JOHN EDWARD VALENZUELA                           §

             FINDINGS AND RECOMMENDATION ON PLEA OF GUILTY

       United States District Judge Nelva Gonzales Ramos referred this case to the undersigned

United States Magistrate Judge for the purpose of conducting a guilty plea proceeding pursuant

to Rule 11 of the Federal Rules of Criminal Procedure. The undersigned submits these Findings

and Recommendation to the District Judge pursuant to 28 U.S.C. § 636(b)(3). All parties have

waived the right to plead before a United States District Judge, and additionally, have consented

to proceed before the undersigned.

       On April 24, 2013, the defendant appeared with counsel before the undersigned

magistrate judge and was personally addressed in open court and admonished pursuant to Rule

11 of the Federal Rules of Criminal Procedure as follows:

       1.      The defendant was placed under oath and advised that any false answers given
during the plea proceeding could be used by the United States against the defendant in a
prosecution for perjury or for making a false statement;

        2.       The defendant was advised that Count One of the indictment charged a violation
of Title 8, United States Code, Section 1324, which makes it unlawful for any person to conspire
or agree with another to unlawfully transport aliens;

        3.      The defendant was advised of the defendant’s right to a jury trial, the right to the
presumption of innocence, the right to require that the United States prove each of the elements
of the offense to a jury beyond a reasonable doubt, that is the United States must prove beyond a
reasonable doubt that (1) the defendant and at least one other person made an agreement to
commit the crime of unlawfully transporting an alien or aliens, defined as follows: transporting
by any means of transportation an alien or aliens who had entered or remained in the United
States in violation of law, knowing that such alien or aliens had entered the United States in
violation of law or recklessly disregarding the fact that such alien or aliens had entered the
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United States in violation of law, and acting with the intent to further such alien or aliens’
unlawful presence; and (2) the defendant knew the unlawful purpose of the agreement and joined
in it willfully, that is, with the intent to further the unlawful purpose. The defendant was further
advised that the right to a jury trial included the right to see, hear and cross-examine witnesses,
the right to compel witnesses to appear in the defendant’s behalf, and the right to testify in the
defendant’s behalf or to remain silent;

         4.       The defendant was advised that a plea of guilty would waive the right to a jury
trial, the right to see, hear and cross-examine witnesses, the right to compel witnesses to appear
in the defendant’s behalf, and the right to remain silent;

        5.      The defendant was advised that the maximum possible sentence included a prison
term of up to ten years plus a maximum fine of up to $250,000, and a period of supervised
release of not more than three years, and that any violation of supervised release could result in
an additional prison term of up to a maximum of two years. The defendant also was advised that
even if he received the maximum two year sentence for violation of supervised release, if he had
not completed his full term of supervised release, he could be re-released to supervised release,
and if revoked again he could receive up to a two year sentence again. The defendant was
advised that this could happen multiple times until he had completed serving his term of
supervised release. The defendant also was advised that a mandatory $100 special assessment is
applied to this felony conviction;

       6.      The defendant was advised of the District Court’s obligation to calculate the
applicable advisory sentencing guideline range and to consider that advisory range, possible
departures under the Sentencing Guidelines, and other sentencing factors under 18 U.S.C.
§ 3553(a);

        7.     The defendant was advised that his written plea agreement with the United States
included a promise that, in exchange for his plea of guilty to Count One, the United States would
recommend maximum credit for acceptance of responsibility and a sentence at the lowest end of
the applicable guideline range. The United States further agreed to move to dismiss Counts 2
and 3 at sentencing. Moreover, according to the plea agreement, if the defendant has provided or
did provide prior to sentencing, substantial assistance to the United States, the United States may
move for a downward departure pursuant to U.S.S.G. § 5K1 and commensurate with the value of
the information provided. The defendant was further advised that the decision about whether to
move for a downward departure was a decision solely in the discretion of the attorney for the
United States. The defendant was further advised that the plea agreement included only a
promise by the United States to make a certain recommendation to the sentencing court, not a
promise by the sentencing court to impose a certain sentence; and

        8.      The defendant was further advised that the plea agreement contained a waiver of
his right to appeal and to file any petitions collaterally challenging his conviction. The
defendant stated that he had discussed the appeal waiver with his attorney and he understood that
he was knowingly waiving his right to appeal the conviction and sentencing decision of the

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District Court to a higher court unless the District Court sua sponte departed upward from the
applicable guideline range or imposed a sentence that exceeded the maximum sentence, and that
he was knowingly waiving his right to file a petition collaterally challenging his conviction. The
defendant further indicated that he was asking the District Court to accept the plea agreement
with the waiver of his appellate rights.

        The defendant indicated that he had received a copy of the indictment, he understood the

nature of the charge, the maximum possible penalty, and the consequences of pleading guilty.

The defendant further stated that the plea of guilty was made freely and voluntarily, and did not

result from any force, threats or coercion, and no one had promised the defendant a certain

sentence. The defendant indicated that he understood that if he did not receive the sentence

hoped for, he could not withdraw his plea of guilty. The undersigned United States Magistrate

Judge finds the defendant to be sufficiently competent to enter a plea of guilty.

        The defendant pleaded guilty to the offense of conspiring to transport unlawful aliens as

charged in Count One of the Indictment. When questioned about the guilty plea, the defendant

admitted that he had knowingly entered into an agreement with his co-defendant Roberto

Salinas, Jr., to unlawfully transport by means of a motor vehicle aliens who had come to,

entered, or remained in the United States in violation of law. The defendant further admitted that

he was aware of the illegal purpose of the conspiracy and voluntarily entered into it with the

intent to further its unlawful purpose.

        The undersigned United States Magistrate Judge finds that defendant’s guilty plea was

freely and voluntarily tendered and did not result from force, threats, or promises and that an

adequate factual basis exists in relation to this plea.




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                                     RECOMMENDATION

       It is respectfully recommended that the District Court adopt the foregoing findings,

accept the defendant’s plea of guilty, and enter a finding that the defendant is guilty as charged

in Count One of the Indictment.

       Respectfully submitted this 25th day of April 2013.



                                              ____________________________________
                                              BRIAN L. OWSLEY
                                              UNITED STATES MAGISTRATE JUDGE




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                                    NOTICE TO PARTIES
       The Clerk will file this Findings and Recommendation and transmit a copy to each party or

counsel. Within FOURTEEN (14) DAYS after being served with a copy of the Findings and

Recommendation, a party may file with the Clerk and serve on the United States Magistrate Judge

and all parties, written objections, pursuant to Rule 59(b) of the Federal Rules of Criminal

Procedure; 28 U.S.C. § 636(b)(1); and Article IV, General Order No. 2002-13, United States District

Court for the Southern District of Texas.

       A party’s failure to file written objections to the proposed findings, conclusions, and

recommendation in a magistrate judge’s report and recommendation within FOURTEEN (14)

DAYS after being served with a copy shall bar that party, except upon grounds of plain error, from

attacking on appeal the unobjected-to proposed factual findings and legal conclusions accepted by

the district court. Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




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